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                         IN THE UNITED STATES DISTRICT COURT
                         FOR THE DISTRICT OF SOUTH CAROLINA
                                  FLORENCE DIVISION

 Lisa L. Webb,                                                Civil Action No.: _________

                   Plaintiff,
 vs.
                                                               NOTICE OF REMOVAL

 Sam’s East, Inc. d/b/a Sam’s Club and Scott
 Silver a/k/a Jeffrey Silver,


                    Defendants.


        Defendant Scott Silver a/k/a Jeffrey Silver (hereinafter “Defendant” or “Silver”), files this

Notice of Removal of the above-titled action from the Court of Common Pleas of Horry County,

South Carolina, to the United States District Court for the District of South Carolina, Florence

Division, pursuant to 28 U.S.C. § 1441.

                                  GROUNDS FOR REMOVAL

        1.     The above-titled action was instituted by the Plaintiff against the Defendants by

filing a Summons and Complaint on June 3, 2024, in the Horry County Court of Common Pleas

and that was served on Defendant Silver on June 19, 2024. The action is currently pending in the

Court of Common Pleas for Horry County, South Carolina, Case No. 2024-CP-26-03773. No

further proceedings have been filed and the Summons and Complaint and an Affidavit of Service

for Scott Silver constitute all process, pleadings, or orders properly served in this action. A copy

of the entire contents of the Horry County file in the State Court Action is attached hereto as

Exhibit 1, pursuant to 28 U.S.C. § 1446(a). This Notice of Removal is being filed within thirty

(30) days of the date of service on Silver pursuant to 28 U.S.C. § 1446(b).




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       2.      There is jurisdiction over this removed action pursuant to 28 U.S.C. § 1441 because

Plaintiff could have originally filed the action in this Court pursuant to 28 U.S.C. § 1332.

Specifically, this suit is removable because there is complete diversity of citizenship between the

Plaintiff and Defendants and based upon Plaintiff’s claimed injuries and damages as set forth in

her Complaint, the amount in controversy in this action exceeds Seventy-Five Thousand and

00/100 Dollars ($75,000.00), exclusive of interests and costs.

       3.      In her Complaint, Plaintiff alleges that she is a citizen and resident of Horry County,

South Carolina. (Compl. ¶ 1). Plaintiff’s Complaint further alleges that Defendant Sam’s East,

Inc. d/b/a Sam’s Club is an Arkansas corporation. (Compl. ¶ 2). Defendant Silver is a citizen and

resident of Florida, where he was personally served with Plaintiff’s Summons and Complaint.

Therefore, there is complete diversity of citizenship as to the parties of this action.

       4.      Based upon the allegations of Plaintiff’s Complaint, the amount in controversy in

this matter exceeds the sum of Seventy-Five Thousand 00/100 Dollars ($75,000.00), exclusive of

interest and costs. Specifically, Plaintiff claims past and future medical expenses, physical and

mental suffering, mental anguish and emotional distress, loss of enjoyment of life, loss of

consortium damages, and other damages to be proven at trial and requests that she be awarded

actual damages and punitive damages in an amount to be determined by the trier of fact. (Compl.

¶ 8). Therefore, this action is one over which the District Court of the United States has original

jurisdiction under 28 U.S.C. § 1332 for the reasons set forth above.

       6.      Silver provided counsel for Plaintiff written notice of the removal of this action and

will provide a copy of the filed Notice of Removal to the Clerk of Court for Horry County, as

required by 28 U.S.C. § 1446(d).




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       7.       Silver files this Notice of Removal within thirty (30) days of the receipt of

Plaintiff’s Complaint in the state court action, which was the first pleading received by Defendant

setting forth the claims for relief upon which this action is based.

       WHEREFORE, Defendant Silver respectfully submits this Notice of Removal.



                                               s/Robert C. Blain
                                               Robert C. Blain, Federal ID No. 11470
                                               Madeline E. Nelson, Federal ID No. 13903
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July 19, 2024                                  Attorneys for Defendant




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